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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                CASE NO.: 1:19-CV-21398-KMM


  ANDRES GOMEZ,

         Plaintiff,

  v.

  Riverchase Dermatology & Cosmetic Surgery,

         Defendant.


                JOINT NOTICE OF FILING CONSENT DECREE AND
             MOTION FOR APPROVAL AND ENTRY OF CONSENT DECREE

         Plaintiff, Andres Gomez, and Defendant, Riverchase Dermatology & Cosmetic Surgery,

  have entered into a Consent Decree intended to resolve this litigation. The Parties, through their

  undersigned counsel, hereby jointly move for approval and entry of the Consent Decree, attached

  hereto as Exhibit.


  Respectfully Submitted on this 5th day of June, 2019.

  s/ Alberto R. Leal                           COLE SCHOTZ P.C.
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